
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a1805-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1005-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1405-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1805-13.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1805-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1815-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0805-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1835-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3805-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1845-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1865-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1895-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2805-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
